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                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 METALLICA, a California general
 partnership,
                                                       Case No. 24-cv-05405
                        Plaintiff,                     Judge Sara L. Ellis
 v.                                                    Magistrate Judge Jeannice Williams
                                                       Appenteng
 APPEARANCEZ, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Metallica

hereby dismisses this action with prejudice as to the following Defendants:

                        Defendant Seller Alias Schedule A Line No.
                              splusgift                52
                         RAHUL MISHRA 1                63


Dated this 30th day of August 2024.          Respectfully submitted,


                                             /s/ Martin F. Trainor
                                             Martin F. Trainor
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                                             Alexander Whang
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